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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI

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 STATE OF MISSOURI,
                                                 )
                                                 )
                Plaintiff,
                                                 )
                                                 )
                v.                                     No. 4:21-cv-376
                                                 )
                                                 )
 JANET YELLEN, in her official capacity as
                                                 )
 Secretary of the Treasury; RICHARD DELMAR,
                                                 )
 in his official capacity as acting inspector
                                                 )
 general of the Department of the Treasury;
                                                 )
 and U.S. DEPARTMENT OF THE TREASURY,
                                                 )
                                                 )
                                                 )
                Defendants.
                                                 )

    UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE
   CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA AND
          NATIONAL FEDERATION OF INDEPENDENT BUSINESS
 SMALL BUSINESS LEGAL CENTER SUPPORTING PLAINTIFF’S MOTION FOR A
                    PRELIMINARY INJUNCTION

       Pursuant to Rule 4.01 of the Local Rules of the U.S. District Court for the Eastern District

of Missouri, the Chamber of Commerce of the United States of America and National Federal of

Independent Business Small Business Legal Center (together, “amici”) request leave to file a brief

amici curiae in support of Plaintiff State of Missouri’s motion for a preliminary injunction (Dkt.

No. 6). Plaintiff and Defendants have consented to this motion.

       The Chamber of Commerce of the United States of America (the “Chamber”) is the world’s

largest business federation. It represents approximately 300,000 direct members and indirectly

represents the interests of more than three million companies and professional organizations of

every size, in every industry sector, and from every region of the country. An important function

of the Chamber is to represent the interests of its members in matters before Congress, the

Executive Branch, and the courts. The National Federation of Independent Business (“NFIB”) is

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the Nation’s leading small business association, representing members in Washington, D.C., and

all 50 state capitals. Founded in 1943 as a nonprofit, nonpartisan organization, NFIB’s mission is

to promote and protect the rights of its members to own, operate, and grow their businesses. The

NFIB Small Business Legal Center (“NFIB Legal Center”) is a nonprofit, public-interest law firm

established to provide legal resources and be the voice for small businesses in the Nation’s courts

through representation on issues of public interest affecting small businesses.

       To fulfill their role as a voice for the business and small business communities, the

Chamber and NFIB Legal Center regularly file amicus curiae briefs in cases that will impact their

interests, and they have recently done so in litigation involving the same issue presented by

Missouri’s motion for a preliminary injunction. See Br. of Amici Curiae Chamber of Commerce

of the United States of Am. & NFIB Small Bus. Legal Center, Ohio v. Yellen, No. 1:21-cv-181

(S.D. Ohio Apr. 9, 2021).

       Amici and their members have a strong interest in this case, as they are concerned that the

tax mandate in the American Rescue Plan Act will prevent States from exercising their sovereign

authority to tailor and implement their own tax policies, including those directly affecting

businesses. Many States are considering or have recently passed legislation that promotes

economic recovery by easing tax burdens on businesses of all kinds, including, especially, small

businesses harmed by the COVID-19 pandemic. These policies and others may be stymied by the

tax mandate’s prohibition on the use of federal funds to offset any decrease in a State’s tax revenue.

Because the implications of the tax mandate for American businesses are severe, amici seek to

represent the interests of their members in this Court with the attached brief. Amici believe that

the analysis presented in their brief provides important context on the lack of constitutional




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authority for the tax mandate, as well as the expected practical effects of this provision on

businesses across the Nation.

       For the foregoing reasons, amici respectfully request that this Court grant leave for the

filing of the accompanying amici curiae brief.

                                                     Respectfully submitted,

                                                     s/Paul D. Clement
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April 15, 2021




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of April, 2021, I electronically filed the foregoing

with the Clerk of the Court for the United States District Court for the Eastern District of Missouri

using the CM/ECF system. I certify that all participants in this case are registered CM/ECF users

and that service will be accomplished by the CM/ECF system.




                                                      s/Paul D. Clement
                                                      Paul D. Clement
